                                                                                                     United States District Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
UNITED STATES DISTRICT COURT                                          SOUTHERN DISTRICT OFJune
                                                                                           TEXAS
                                                                                               07, 2021
                                                                                                       Nathan Ochsner, Clerk

                   Motion and Order for Admission Pro Hac Vice

      Division          Houston                               Case Number                   4:21-cv-01263

                     Danielle Fleming, Austin Fleming, and Sold In A Snap LLC


                                                     versus
      Hearst Newspapers, LLC, d/b/a Houston Chronicle a/k/a Houstonchronicle.com a/k/a/
                         Chron.com and Move Inc. d/b/a Realtor.com


           Lawyer’s Name                  David R. Singer
                Firm                      Jenner & Block LLP
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      Licensed: State & Number            California, 204699
       Federal Bar & Number               9th Cir., 2d Cir., 7th Cir., C.D. Cal., S.D. Cal., N.D. Cal., E.D. Cal.


 Name of party applicant seeks to                                        Move Inc.
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:       5/26/2021         Signed:
                                          cabin
 The state bar reports that the applicant’s status is:   Active

 Dated: 05/28/2021              Clerk’s signature     /s/ Jennelle Gonzalez



               Order
                                                    This lawyer is admitted pro hac vice.

Dated:    06/07/2021
                                                              United States District Judge
